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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

 THE STATE OF LOUISIANA,
 By and through its Attorney General, JEFF
 LANDRY, et al.,

                                     PLAINTIFFS,

 v.

 JOSEPH R. BIDEN, JR. in his official              CIVIL ACTION NO. 1:21-cv-3867
 capacity as President of the United States, et
 al.,

                                   DEFENDANTS.



        LIST OF CASES CHALLENGING FEDERAL COVID-19 PREVENTATIVE

                                            MANDATES

        Pursuant to the Court’s November 19 Order (ECF 16), the parties attempted to compile a

 comprehensive list of “all cases, pending or otherwise, challenging a federal COVID-19

 preventative mandate (including but not limited to mandates relating to vaccinations, masks, or

 social distance requirements).” The parties identified the following cases:

 Challenges to EO 14042, which requires certain contracts to include a clause requiring
 contractor vaccination:

        1.    America’s Frontline Doctors, Inc. v. United States, 2:21-cv-702-CLM (N.D. Ala.)

        2.    Brnovich v. Biden, No. 2:21-cv-1568-MTL (D. Ariz.)

        3.    Commonwealth of Kentucky v. Biden, No. 3:21-cv-55 (E.D. Ky.)

        4.    Donovan v. Vance, No. 4:21-cv-5148 (E.D. Wash.)

        5.    Hollis v. Biden, No. 1:21-cv-163-GHD-RP (N.D. Miss.)

        6.    Jensen v. Biden, No. 4:21-cv-5119 (E.D. Wash.)
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       7.    Smith v. Biden, No. 21-cv-19457-CPO-SAK (D.N.J.), appeal filed, No. 21-3091 (3d

             Cir.)

       8.    State of Florida v. Nelson, No. 8:21-cv-2524 (M.D. Fla.)

       9.    State of Georgia et al. v. Biden, No. 1:21-cv-163 (S.D. Ga.)

       10.   State of Louisiana et al. v. Biden, No. 1:21-cv-3867 (W.D. La.)

       11.   State of Missouri et al. v. Biden, No. 4:21-cv-1300 (E.D. Mo.)

       12.   State of Oklahoma v. Biden, No. 5:21-cv-1069-G (W.D. Okla.)

       13.   State of Texas v. Biden, No. 3:21-cv-309 (S.D. Tex.)

 Challenges to EO 14043, which requires federal employees to be vaccinated:

       1.    America’s Frontline Doctors, Inc. v. United States, 2:21-cv-702-CLM (N.D. Ala.)

       2.    Altschuld v. Raimondo, No. 21-cv-2779 (D.D.C.)

       3.    AFGE v. Biden, No. 21-cv-23828 (S.D. Fla.)

       4.    Brass v. Biden, No. 1:21-cv-2778-MEH (D. Colo.)

       5.    Brnovich v. Biden, No. 2:21-cv-1568-MTL (D. Ariz.)

       6.    Church v. Biden, No. 21-cv-2815 (D.D.C.)

       7.    Costin v. Biden, No. 21-cv-2484 (D.D.C.)

       8.    Donovan v. Vance, No. 4:21-cv-5148 (E.D. Wash.)

       9.    Foley v. Biden, No. 21-cv-1098 (N.D. Tex.)

       10.   Health Freedom Defense Fund v. Biden, No. 8:21-cv-2679 (M.D. Fla.)

       11.   MacGregor & Bjerken v. Federal Agency Heads, No. 21-cv-142 (D. Mont.)

       12.   McCray v. Biden, No. 1:21-cv-2882-RDM (D.D.C.)

       13.   Navy Seal 1 v. Biden, No. 21-cv-2429 (M.D. Fla.)

       14.   Rodden v. Fauci, No. 3:21-cv-317 (S.D. Tex.)
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          15.   Rydie v. Biden, No. 8:21-cv-2696 (D. Md.)

          16.   Smith v. Biden, No. 21-cv-19457-CPO-SAK (D.N.J.), appeal filed, No. 21-3091 (3d

                Cir.)

          17.   Wirtes v. Woodcock, No. 4:21-cv-142 (E.D. Va.)



 Challenges to the Department of Defense’s vaccination requirement for active-duty and
 Ready-Reserve service members:

          1.    Costin v. Biden, No. 21-cv-2484 (D.D.C.)

          2.    Crosby v. Austin, 21-cv-2730 (M.D. Fla.)

          3.    Doe v. Austin, No. 3:21-cv-1211 (N.D. Fla.)

          4.    Guettlein v. Merchant Marine Academy, No. 21-cv-6443 (E.D.N.Y.)

          5.    Navy Seal 1 v. Biden, No. 21-cv-2429 (M.D. Fla.)

          6.    Robert v. Austin, No. 1:21-cv-2228 (D. Colo.)

          7.    Rudometkin v. Austin, No. 1:21-cv-2220 (D.D.C.)

          8.    U.S. Navy Seals 1-26 v. Biden, No. 4:21-cv-1236-O (N.D. Tex.)

 Challenges to the OSHA ETS, which requires employees of covered employers to undergo
 COVID-19 vaccination or to take weekly COVID-19 tests and wear a mask:

          All petitions for review have been consolidated in the U.S. Court of Appeals for the Sixth

 Circuit sub nom In re Occupational Safety and Health Administration, Interim Final Rule, No.

 21-7000 (lead). Prior to consolidation, the U.S. Court of Appeals for the Fifth Circuit stayed the

 vaccine mandate. BST Holdings, LLC v. OSHA, No. 21-60845, 2021 WL 5166656 (5th Cir. Nov.

 6, 2021) (per curiam). The Fifth Circuit then reaffirmed its initial stay in a published opinion.

 BST Holdings, LLC v. OSHA, No. 21-60845, -- F. 4th --, 2021 WL 5279381 (5th Cir. Nov. 12,

 2021).
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 Challenges to the CMS Vaccine Requirement, which requires COVID-19 vaccination of
 certain staff at health care facilities participating the Medicare and Medicaid programs

       1.    State of Florida v. HHS, No. 3:21-cv-2722 (N.D. Fla.), appeal filed, No. --- (11th

             Cir.)

       2.    State of Missouri v. Biden, No. 4:21-cv-1329 (E.D. Mo.)

       3.    State of Louisiana v. Becerra, No. 3:21-cv-3970 (W.D. La.)

       4.    State of Texas v. Becerra, No. 2:21-cv-229-Z (N.D. Tex.)

 Challenges to orders issued by CDC and/or TSA requiring wearing of face masks at
 transportation hubs or on public transportation conveyances:

       1.    Health Freedom Defense Fund v. Biden, No. 8:21-cv-1693 (M.D. Fl.)

       2.    Bombay-Somers v. U.S. Dep’t of Health & Human Servs., No. 1:21-cv-335 (N.D.

             Ind.)

       3.    Wall v. CDC, No. 6:21-cv-975 (M.D. Fl.)

       4.    Mahwikizi v. CDC, No. 6:21-cv-975 (N.D. Ill.)

       5.    Corbett v. TSA, No. 21-1074 (D.C. Cir.)

       6.    Wall v. TSA, No. 21-1220 (D.C. Cir.) (transferred from 11th Cir.)

       7.    Faris v. TSA, No. 21-1221 (D.C. Cir.) (transferred from 6th Cir.)

       8.    Marcus v. TSA, No. 21-1225 (D.C. Cir) (transferred from 5th Cir.)

       9.    Eades v. TSA, No. 21-1236 (D.C. Cir.) (transferred from 8th Cir.)

       10.   Andreadakis v. TSA, No. 21-1237 (D.C. Cir.) (transferred from 4th Cir.)

       11.   Abadi v. TSA, No. 21-2692 (2d Cir.) (motion to transfer to D.C. Cir. pending)

 Challenge to CDC order requiring cruise ships to implement COVID-19 precautions as a
 condition to operating in U.S. waters:
       1.    Florida v. Becerra, No. 8:21-cv-839 (M.D. Fla.)

 Challenges to CDC orders requiring inbound international air travelers to provide proof of
 a negative COVID-19 test before boarding:
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       1.   Wall v. CDC, No. 6:21-cv-975 (M.D. Fla.)

       2.   Shoemaker v. Biden, 1:21-cv-230 (N.D. Ohio)




 Dated: November 26, 2021                       Respectfully submitted,

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